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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA                    )
                                            )
V.                                          )       CASE NOS.: 4:19-CR-00219-03-BRW
                                            )                  4:21-CR-00215-01-BRW
CHRISTOPHER DAVID HIGGINS                   )



                                            ORDER
       Defendant seeks temporary release from custody for the purpose of attending two

upcoming medical appointments and an inpatient surgery procedure. (Case No. 4:19-cr-00219-e-

BRW, Doc. No. 128; Case No. 4:21-cr-00215-1-BRW, Doc. No. 49). Pursuant to 18 U.S.C. §

3142(i), I find the appointments and the surgery procedure qualify as a compelling reason for

temporary release. Accordingly, Defendant’s Motion is GRANTED.

       IT IS, THEREFORE, ORDERED that:

       1.     Defendant be temporarily released from custody on Tuesday, September 6, 2022,

no earlier than 6:30 a.m., for the sole purpose of attending an 8:45 a.m. appointment at the UAMS

Interventional Radiology Clinic in Little Rock, Arkansas.

       2.     Defendant is to return to his current place of custody no later than 12:30 p.m. sharp

on Tuesday, September 6, 2022.

       3.     Defendant be temporarily released from custody on Monday, October 3, 2022, no

earlier than 7:45 a.m., for the sole purpose of attending a 10:00 a.m. appointment at the UAMS

Interventional Radiology Clinic in Little Rock, Arkansas.

       4.     Defendant is to return to his current place of custody no later than 7:00 p.m. sharp

on Monday, October 3, 2022.
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       5.      Defendant be temporarily released from custody on Wednesday, October 12, 2022,

no earlier than 2:30 a.m., for the sole purpose of attending a 5:00 a.m. surgery appointment at the

UAMS Surgery Clinic in Little Rock, Arkansas.

       6.      Defendant is to return to his current place of custody immediately upon his post-

operative inpatient discharge from UAMS, but in any event no later than 7:00 p.m. on October 19,

2022, pending further order of this Court.

       7.      Defendant’s family is to provide Defendant with transportation to and from his

appointments and his surgery procedure.

       IT IS SO ORDERED this 16th day of August, 2022.



                                                        BILLY ROY WILSON
                                                  UNITED STATES DISTRICT JUDGE
